REED Sl\/lITH LLP

A limited liability partnership formed in the Slate of De|aware

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PR()OF OF SERVICE
Consumer Fl`nancz`al Protection Bureczu v. D and D Marketin , Inc. et al
USDC Central District of California Case No. 2115-cv-096 Z-PSG-E

l am a resident of_ the State of California, over the age of eighteen years, and not
a party to the within action I am employed in the office of a member of the bar of
this court at whose direction the service was made._ M business address is
REED SMITH LLP, 355 South Grand Avenue, Suite 900, Los Angeles, CA 90071.
On June 9, 2017, I served the following document(s) by the method indicated below:

l. JOINT STIPULATION FOR ENTRY ()F STIPULATED FEDERAL
RULE OF EVIDENCE 502(d) ORDER

2. STIPULATED FEDERAL RULE OF EVIDENCE 502(d) ORDER

§ by placing the document(s) listed above in a sealed envelope with postage
thereon fully prepaid, in the United States mail at Los Angeles, California
addressed as set forth below. l am readily familiar with the firm’s practice of
collection and processing of correspondence for mailing Under that practice,
it would be deposited with the U.S. Postal Service on that same day with
postage thereon fully prepaid in the ordinary course of business. l am aware
that on motion of the party served, service is presumed invalid if the postal
cancellation date or postage meter date is more than one day after the date of
deposit for mailing in this Declaration.

Herbert P Kunowski

Wilson Elser Moskowitz Edelman and Dicl<er
555 South F lower Street, Suite 2900

Los Angeles CA 90071

l declare under penalty of perjury under the laws of the United States th_at the
above is true and correct. EXecuted on June 9, 2017, at Los Angeles, California.

M@

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Proof of Service

